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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,

                v.                                     Civil Action No. 3:21-cv-299

 STATE OF TEXAS and JOHN SCOTT, in his
 official capacity as Texas Secretary of State,

                       Defendants.


                                    [PROPOSED] ORDER

       The United States’ Motion to Consolidate (ECF No. ___) is GRANTED. The Court

hereby ORDERS that this case be consolidated into League of United Latin American Citizens v.

Abbott, No. 3:21-cv-259 (W.D. Tex.). It is ORDERED that all future filings be filed in League

of United Latin American Citizens v. Abbott, No. 3:21-cv-259 (W.D. Tex.).

       So ORDERED and SIGNED on this ____ day of December 2021.




                                                  _________________________________


                                                  UNITED STATES DISTRICT JUDGE
